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NURSES NOTES

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NURSE NOTES
EXHIBIT A

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Mbatty ASSURANCE LLC

CONSENT TO TREATMENT FORM

| Qeram Sou 9-8 Of

NAME OF INMATE DATE
Te 2-4"

| INMATE i/DOB

Thereby give my consent to Health Assurance LLC, its employess and agents

to perform any diagnostic laboratory procedures, examinations, x-rays, oral or
injected medications or other procedures reconmended by the physician,

: Tam aware the practice of medicine is not an exact science and I
" J acknowledge no guarantees have been made regarding the result of treatments or
| examinations performed by Health Assurance LLC. > .

J alse authorize the transfer of my medical records or copies of said records
to.any faeility to which I am referred for treatment or to any other correctional

facility to wliich E ang transferred,

I undersiand I may withdraw this consent te any specific treatment by
refusing the treatment or test.

Tsign this willingly in full understanding of the ‘above and release Health
Assurance LLC, iis employees and agents front any and all ability which may arise

from this action.

WITNESS

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. MBALTA ASSURANCE L

Harrison County Adult Detention Kacility
10451 Larkin Smith Dr _
Gulfport, MS 39503
(228)896-0646 Fax (228)896-0645

AUTHORIZATION FOR RELEASE OF INFORMATION - oe

‘TINMATE NAME:
DATE OF BIRTH: - °° SOCEAL SECURITY #
L __. hereby authorize

to release any and all of my medical record faformation to the above named facility.

Purpose of Disclosure: to continue treatment. This authorization includes the release of psychological, .
psychiatric, alenho], drug abuse and HIV/AIDS data. This authorization included reviewing and/or
copying all or portions of my medical record. I release Health Assurance LLC, Harrison County Adult

Detention Facility and my physician from any responsibility or Liability from the releasing of this
information,

The patient has the right to revoke the authorization at any time by sending writtes notification to the
above address. The revocation is not effective to the extent that this facility has taken action in rellance
thereon or if the authorization was obtained as a condition of obtaining imsurance and law provide the

insurer with the right to contest a claim under the poltcy.

The information used or disclosed pursuant to the authorization may be subject to redisctosure by the

recipient and no longer be protected by the privacy.regniations.

I understand this authorization shall ramain in full force and effect for the perlod of one year from
today’s date unless withdravn in writing by me.

INMATE SIGNA TORE DATE

WITNESS DATE

